Case 1:20-cr-00068-LEK Document 83-17 Filed 07/22/22 Page 1 of 2   PageID.937




                           EXHIBIT 18
Case 1:20-cr-00068-LEK Document 83-17 Filed 07/22/22 Page 2 of 2                                    PageID.938


 From:             Lowell, Abbe
 To:               "mccorriston@             "
 Subject:          RE: Nickie Mali Lum Davis
 Date:             Thursday, August 27, 2020 5:46:00 PM


Or then it has to be watered down so that Nickie, USAO and you all know what it refers to but the words in the
provision are way more benign.




 Abbe David Lowell
 Partner
 Winston & Strawn LLP
 1901 L Street, N.W.
 Washington, DC 20036
 D: +1
 F: +1

 200 Park Avenue
 New York, NY 10166-4193
 D: +1
 F: +1
 VCard | Email | winston.com




From: Lowell, Abbe
Sent: Thursday, August 27, 2020 5:45 PM
To: 'mccorriston@            ' <mccorriston@               >
Subject: FW: Nickie Mali Lum Davis

Wow – then there has to be a place (I like my sidebar colloquy) for this to occur. It cannot be on the public
docket and if so, I really will have to not do this, right?




 Abbe David Lowell
 Partner
 Winston & Strawn LLP
 1901 L Street, N.W.
 Washington, DC 20036
 D: +1
 F: +1

 200 Park Avenue
 New York, NY 10166-4193
 D: +1
 F: +1
 VCard | Email | winston.com
